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                              UNITED STATES DISTRICT COURT
14
                           SOUTHERN DISTRICT OF CALIFORNIA
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16    VLAD ZAMFIR,                               Case No. 3:21-cv-00474-TWR-AHG
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                    Plaintiff,                   NOTICE OF APPEARANCE OF
18                                               THOMAS J. KEARNEY FOR PLAINTIFF
             v.                                  VLAD ZAMFIR
19
      CASPERLABS, LLC,                           Original Complaint Filed: March 17, 2021
20                                               Trial Date: Not Yet Set
21                  Defendant.
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     NOTICE OF APPEARANCE OF THOMAS J. KEARNEY                         CASE NO. 21-CV-00474-TWR-AHG
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1    TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
2           PLEASE TAKE NOTICE that Thomas J. Kearney of Winston & Strawn LLP,
3    101 California Street, 35th Floor, San Francisco, CA 94111, who is duly admitted to
4    this Court hereby enters his appearance in the above-captioned matter as counsel for
5    Plaintiff Vlad Zamfir. The undersigned respectfully requests to be included on the
6    Court’s notification of all electronic filings in the action, and that papers or documents
7    not subject to electronic filing be served at the address below.
8
9    Dated: April 20, 2022                       By: s/ Thomas J. Kearney
10
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16                                               Attorneys for Plaintiff Vlad Zamfir

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